Case 8:17-cv-01281-DOC-DFM Document 105 Filed 10/18/19 Page 1 of 1 Page ID #:3759

                                                 United States District Court
                                                    Central District of California           Cristina M. Squieri Bullock
                                                     Office of the Clerk                    Chief Deputy of Administration
                                                                                            350 West 1st Street, Suite 4311
                                                                                               Los Angeles, CA 90012

                  Kiry K. Gray                                                                     Sara Tse Soo Hoo
     District Court Executive / Clerk of Court                                                Chief Deputy of Operations
          350 West 1st Street, Suite 4311                                                 255 East Temple Street, Suite TS-134
              Los Angeles, CA 90012                                                             Los Angeles, CA 90012



                                                     October 18, 2019

           Orange County Superior Court
           751 West Santa Ana Boulevard
           Santa Ana, CA 92701

    Re: Case Number:       8:17−cv−01281−DOC−DFM
        Previously Superior Court Case No.    30−2017−00927449−CU−OE−CXC
        Case Name:       Randy Pitre v. Wal−Mart Stores, Inc. et al

    Dear Sir/Madam:

          Pursuant to this Court’s ORDER OF REMAND issued on                  10/18/19       , the above−referenced case
    is hereby remanded to your jurisdiction.

           Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

          Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
    location shown below. Thank you for your cooperation.

    United States Courthouse
    255 East Temple Street, Suite TS-134
    Los Angeles, CA 90012


                                                                     Respectfully,

                                                                     Clerk, U.S. District Court

                                                                     By: /s/ Trina Debose
                                                                        Deputy Clerk
                                                                        714 338 4568
    Encls.
    cc: Counsel of record

    Receipt is acknowledged of the documents described above.



                                                                     Clerk, Superior Court


                                                                     By:
    Date                                                                   Deputy Clerk




    CV−103 (05/18)          LETTER OF TRANSMITTAL − REMAND TO SUPERIOR COURT (CIVIL)
